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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      PINE BLUFF DIVISION

ALONZO HAMPTON
ADC #137559                                                  PLAINTIFF

v.                       No. 5:19-cv-184-DPM

JESSICA MICKELS, Correction Officer,
Cummins Unit, ADC; WILLIAM STRAUGHN,
Warden, Cummins Unit, ADC; CHRISTOPHER
BUDNIK, Deputy Warden, Cummins Unit, ADC;
and WENDY KELLEY, Director, ADC                          DEFENDANTS

                             JUDGMENT
     1. Hampton's equal protection claim 1s dismissed without
prejudice.
     2. Hampton's official-capacity failure to protect claims are

dismissed without prejudice.
     3. Hampton's individual-capacity failure to protect claim against

Wendy Kelley is dismissed without prejudice.
     4. All other claims are dismissed with prejudice.




                                  D.P. Marshall Jr.
                                  United States District Judge
